Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 1 of 6 PageID 552
Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 2 of 6 PageID 553
Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 3 of 6 PageID 554
Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 4 of 6 PageID 555
Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 5 of 6 PageID 556
Case 2:96-cr-00015-JLB-M_M Document 723 Filed 06/02/08 Page 6 of 6 PageID 557
